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          EXHIBIT A
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USTED ESTA ORDENADO COMPARECER EN Arbitration ______________________________________________________________
                                                         Hearing 1880 JFK Blvd. 5th fl. at 09:15 AM - 06/16/2022
You must still comply with the notice below. USTED TODAVIA DEBE CUJPLIR CON EL AVISO PARA DEFENDERSE.
This matter will be heard by a Board of Arbitrators at the time, date and place specified but, if one or more parties is not present
at the hearing, the matter may be heard at the same time and date before a judge of the court without the absent party or parties.
                       LAW
There is no right to a trial   OFFICES
                             denovo      OF WILLIAM
                                    on appeal              C. REIL
                                              from a decision entered by a Judge.
                       BY: William C. Reil, Esquire                                                 Filed and Attested by the
                                                                                                   Office of Judicial Records
                       Identification No. 26833
                                                                                                       20 AUG 2021 03:11 pm
                       1420 Locust Street, Suite 420                                                           M. BRYANT
                     Philadelphia, PA 19102
                     215-564-1635                                                              ATTORNEY FOR PLAINTIFF
                     VALENTINA MAKER                                                 :         COURT OF COMMON PLEAS
                     1723 Erdman Street                                              :         PHILADELPHIA COUNTY
                     Philadelphia, PA 19130                                          :         TRIAL DIVISION
                                                                                     :
                                           v.                                        :         NO.
                                                                                     :
                     TEMPLE UNIVERSITY                                               :
                     c/o Office of University Counsel                                :
                     1330 W. Polett Walk                                             :         CIVIL ACTION - LAW
                     Philadelphia, PA 19122                                          :         ARBITRATION

                                                                 COMPLAINT - CIVIL ACTION

                                            NOTICE                                                                              AVISO
                     You have been sued in court. If you wish to defend against the claims     Le han demandado a usted en la corte. Si usted quiere defenderse de estas
                     set forth in the following pages, you must take action within twenty      demandas expuestas en las paginas siguientes, usted tiene veinte (20) dias de
                     (20) days after this complaint and notice are served, by entering a       plazo al partir de la fecha de la demanda y la notificacion. Hace falta a sentar
                     written appearance personally or by attorney and filing in writing with   una comparencia escrita o en persona o con un abogado y entregar a la corte
                     the court your defense or objections to the claims set forth against      en forma escrita sus defensas o sus objeciones a las demandas en contra de su
                     you. You are warned that if you fail to do so the case may proceed        persona. Sea avisado que si usted no se defiende, la corte tomara medidas y
                     without you and a judgment may be entered against you by the court        puede continuar la demanda en contra suya sin previo aviso o notificacion.
                     without further notice for any money claimed in the complaint or for      Ademas, la corte puede decidir a favor del demandante y requiere que usted
                     any other claim or relief requested by the plaintiff. You may lose        cumpla con todas las provisiones de esta demanda. Usted puede perder
                     money or property or other rights important to you.                       dinero o sus propiedades o otros derechos importantes para usted.

                     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                              LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI
                     ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT                               NO TIENE ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE
                     AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET                             PAGAR TAL SERVICIO, VAYA EN PERSONA O LLAME POR
                     FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL                           TELEFONO A LA OFICINA CUYA DIRECCION SE ENCUENTRA
                     HELP.                                                                     ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
                                                                                               ASISTENCIA LEGAL.

                                    Lawyer Reference Service                                                                          Servicio de ReferenciaLegal
                                    One Reading Center                                                                                Uno Reading Centro
                                    Philadelphia, PA 19107                                                                            Filadelfia, PA 19107
                                    Telephone: 215-238-1701                                                                           Telefono: 215-238-1701




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                                        COMPLAINT

        1. The plaintiff is Valentina Maker (“Maker”), an adult individual, who at all

times material herein, was a student at Temple University, and presently resides at

the address in the caption.

        2. The defendant is Temple University (“Temple”), an educational institution

or other unincorporated association, whose address for service of process is indicated

in the caption.

        3. At all times material herein, Valentina Maker was a paying graduate

student at Temple University, who was pursuing her degree as a Doctor of Physical

Therapy.

        4. Plaintiff paid approximately $100,000 in tuition to obtain her graduate

degree in Physical Therapy. The gravamen of this lawsuit arises out of the illegal

discharge of plaintiff from Temple University without due process.

        5. Plaintiff was discharged without a hearing or due process, and without

sufficient evidence arising out of the COVID-19 situation, which caused difficulties

beyond plaintiff’s control, and in violation of the doctrine of promissory estoppel, in

that plaintiff relied on promises of her supervisor and clinical director at Temple to

her detriment. Plaintiff incorporates Exhibit “A”, a letter to the President of Temple

dated 01/21/21, as though fully incorporated herein.

                                COUNT I
                   VALENTINA MAKER v. TEMPLE UNIVERSITY

        6. Plaintiff incorporates all prior paragraphs as though fully set forth herein.

        7. This cause of action is for violation of due process by defendant, with

respect to plaintiff, arising out of the failure of plaintiff to be given a proper hearing

or appeal.




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        8. Plaintiff was never given a hearing where she had an opportunity to

challenge the alleged evidence against her and to cross-examine those at Temple

who caused plaintiff to be withdrawn from her practicum without finishing the same.

        9. Temple University is a state-related institution and considered as a state

actor for the purposes of due process. Plaintiff was never given a proper hearing with

due process prior to her dismissal and appropriate notice before her dismissal.

        10. A touchstone of due process is notice and an opportunity to be heard by

an impartial tribunal. See J.P v. Department of Human Services, 170 A.3d 575 (Pa.

Cmwlth. 2017).

        11. The genesis of this incident came when plaintiff was required to be

present at Temple Hospital as part of her practicum. She was masked, gowned, with

a face shield in place, as was her clinical supervisor, because of the COVID-19

pandemic. It was difficult to absorb instruction under these circumstances and to

particularly interact with patients and provide patient care.

        12. As a pretext, plaintiff was dismissed, after spending in excess of

$100,000 in tuition and over two years in the program, before her practicum was

finished.

        13. Plaintiff was never evaluated by her advisor at Temple at the Hospital,

nor did she receive any written tests.

        14. Plaintiff’s written evaluation at the middle part of her practicum was

satisfactory.

        15. Although plaintiff was dismissed for alleged “patient safety”, there is no

indication that any patient was injured, or there was any incident involving a patient

which generated complaints. It is further alleged that “patient safety” was used as a




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catchall pretext by Temple University to dismiss Ms. Maker.

        16. As a result of defendant’s conduct, plaintiff suffered damages for loss of

her tuition, as well as loss of future earnings and earning capacity and emotional

distress.

        WHEREFORE, plaintiff requests damages not in excess of $50,000 at

Arbitration, plus interest, costs, and attorney’s fees, if applicable. Plaintiff also

requests expungement of all records at Temple University involving her dismissal.

                               COUNT II
                   VALENTINA MAKER v. TEMPLE UNIVERSITY

        17. Plaintiff incorporates all prior paragraphs as though fully set forth herein.

        18. Plaintiff relied, to her detriment, on the promises of defendant and its

agents to fairly evaluate her academic performance as heretofore indicated.

        19. Temple did not act in a reasonable manner in dismissing Ms. Maker.

        20. Temple dismissed Ms. Maker before her practicum was completed.

        21. Temple failed to have credible evidence that plaintiff created issues of

“patient safety” which allegedly justified her dismissal.

        22. Temple improperly delegated the evaluation of plaintiff to Patricia Garcia,

a physical therapist, who was not a faculty member of the Temple PT Program, and

did not have appropriate credentials.

        23. Defendant failed to incorporate plaintiff’s evaluations in its decision to

dismiss her prematurely during her practicum.

        24. Defendant failed to take into account that plaintiff’s performance should

have been judged in the light of the COVID-19 pandemic, where there was

insufficient time to properly supervise plaintiff and where plaintiff had difficulty

interacting with patients and hospital personnel due to the overwhelming nature of the




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pandemic. Plaintiff was frequently left unsupervised because her clinical instructor

had an additional workload of patients.

        25. As a result of defendant’s conduct, plaintiff suffered damages for loss of

her tuition, as well as loss of future earnings and earning capacity and emotional

distress.

        WHEREFORE, plaintiff requests damages not in excess of $50,000 at

Arbitration, plus interest, costs, and attorney’s fees, if applicable. Plaintiff also

requests expungement of all records at Temple University involving her dismissal.

                              COUNT III
                   VALENTINA MAKER v. TEMPLE UNIVERSITY

        26. Plaintiff incorporates all prior paragraphs as though fully set forth herein.

        27. Defendant’s conduct was arbitrary and capricious in that plaintiff was

terminated during the 5th week of her practicum.

        28. Plaintiff’s clinical practicum was supposed to be for 12 weeks, and was

abridged to 5 weeks due to the COVID-19 pandemic. Expectations for plaintiff’s

performance did not reflect the diminished instructional time.

        29. Defendant violated plaintiff’s due process by terminating her at 5 weeks

during her practicum, since there was no opportunity to judge plaintiff’s

performance on the full length of her course. The Clinical Education Student

Handbook for Temple states at paragraph 10(c) that an evaluation of a student’s

clinical experience will occur after such experience is completed. See Exhibit “B”.

        30. This action by Temple was tantamount to giving a student an “F” before

the course had finished and the final exam was submitted.

        31. There was no written notice of impending termination to Ms. Maker.

        32. Ms. Maker was terminated during her practicum and not given any

hearing or the ability to present evidence on her behalf or obtain counsel.



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        33. On Temple’s website, it is stated that the practicum was 12 weeks.

        34. As a result of defendant’s conduct, plaintiff suffered damages for loss of

her tuition, as well as loss of future earnings and earning capacity and emotional

distress.

        WHEREFORE, plaintiff requests damages not in excess of $50,000 at

Arbitration, plus interest, costs, and attorney’s fees, if applicable. Plaintiff also

requests expungement of all records at Temple University involving her dismissal.


                                                    Respectfully submitted,


                                                    William C. Reil, Esquire
                                                    Attorney for Plaintiff
                                                    08/20/21




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        EXHIBIT “A”

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                            William C. Reil, Esquire
              1515 Market Street, Suite 1200, Philadelphia, PA 19102
                      Tel: 215-564-1635 Fax: 215-564-4292
                            BillReilLaw@gmail.com

January 21, 2021                            BY EMAIL AND REGULAR MAIL
                                            president@temple.edu
President Richard M. Englert
Temple University
Second Floor, Sullivan Hall
1330 Polett Walk
Philadelphia, PA 19122

    Re: Valentina Maker
        Letter of Representation and Request to Speak with Counsel

Dear President Englert:

Please be advised that I represent Valentina Maker, a former graduate student at
Temple University. Ms. Maker was recently dismissed by your University in Summer
2020. She had spent two years in the physical therapy program. I understand that she
was to graduate in 2021. I further understand that Ms. Maker has spent over $100,000
in tuition and expenses in her graduate program at Temple. Based on my
understanding, my client was dismissed from Temple due to her clinical assignment at
Temple Hospital. She was not allowed to finish her clinical program and not given
consideration due to the Covid situation.

I would request that you investigate this information yourself to determine the validity
of this dismissal. I wish to point out that my client’s grades were good and that the
dismissal, based on alleged patient safety, was almost totally subjective.

It appears that the University has violated several provisions of its handbook and
written materials, inter alia. Procedurally, my client never received a hearing before
her dismissal. As you know, Temple is a state related school and subject to
substantive and procedural due process. While Ms. Maker has been given appeals
after her dismissal, this does not remediate the fact that her due process rights were
violated by not having the opportunity to present her side of the situation before
dismissal was mandated. As you know, the official writings of the University and its
personnel may be considered a contract in Pennsylvania. I am not aware of complaints
by any patients. To my knowledge, no patients were jeopardized by my client. I
would like to speak with your legal representative to discuss these matters. I have
advised Ms. Maker of her legal options.

Sincerely yours,


William C. Reil
WCR/cmb

cc: Valentina Maker



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         EXHIBIT “B”

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       Doctor of Physical Therapy Program

Clinical Education Student Handbook




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  The CPI is accessible to students and clinical instructors only after having completed
  the online training at the APTA Learning Center, at the following link:
  http://learningcenter.apta.org/ptcpi_aptalearningcenter.aspx
     See also:
Appendices:
      APTA Quick Guide to training and accessing the online CPI
      Performance Dimensions and rating scale criteria used in grading

B. Student Assignments
   Assignments are used to assist students in the process of learning. They help students
   to investigate their own learning experience and provide information about the clinical
   experience to the DCE. For grading purposes the following assignments will be
   assigned at various points in the curriculum. The syllabus for each course will outline
   required elements:
       Reflection Discussion Board
       Sample of patient or staff education (i.e. inservice)
       Completed Release Forms (E*Value)
       Completed CI Information Form (E*Value)
       Completed Student Evaluation of Clinical Site (E*Value)
       Completed Student Evaluation of Clinical Instructor (E*Value)
       APTA Core Values Self-Assessment (Appendix) (E*Value)

C. Student Assessment of Clinical Site and Clinical Instructor
   After each student’s clinical experience is completed, the Director of Clinical Education
   and the Center Coordinator of Clinical Education evaluate the affiliation and consider
   suggestions for improvement. Students’ opinions are an important part of this
   evaluation process. Your positive, as well as constructive, comments are very helpful.
   Students will complete online evaluations via the E*Value learning platform regarding
   the organization and learning experience provided by the site and the instructor. This
   provides students the opportunity to express their opinions of the clinical internship
   experience. Students are responsible for filling out this evaluation before the end of
   the clinical experience.

D. APTA Core Values Self-Assessment (Appendix)
   After clinical experience 1 and 3, the student completes the APTA Core Values Self-
   Assessment, to develop an awareness about professionalism and the frequency with
   which he or she demonstrates the core values of the profession in practice. This online
   evaluation is completed in the E*Value learning platform.

E. Feedback to Students (Appendix: Weekly Planning Form)
   The Weekly Planning Form is a tool to encourage clear and consistent communication
   between the CI and the student. It allows both parties to document performance and
   feedback on a weekly basis. This promotes open communication and an opportunity to
   set objective goals. Weekly planning is an essential component of formative
   evaluation, and imperative for the learning process.
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